    Case: 1:20-cv-01031 Document #: 21 Filed: 10/01/20 Page 1 of 1 PageID #:188




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

REPUBLIC TECHNOLOGIES (NA),                     )
LLC, and SREAM, INC.,                           )
                                                )      No. 1:20-cv-01031
              Plaintiffs,                       )      Judge John J. Tharp, Jr.
                                                )
              v.                                )
                                                )
STAR SHINE INC. d/b/a EXOTIC                    )
VAPORS TOBACCO and LALJIBHAI                    )
THAKKAR,                                        )

              Defendants.

                                    JUDGMENT ORDER

       This action having been decided on a motion for default judgment, it is hereby ORDERED

that total judgment, including costs, in the amount of $30,576, is entered in favor of Plaintiffs

Republic Technologies (NA), LLC, and Sream, Inc. and against Defendants Star Shine, Inc. and

Laljibhai Thakkar.




       Dated: October 1, 2020                              John J. Tharp, Jr.
                                                           United States District Judge
